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                                       UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA               :    Honorable Dickinson R. Debevoise,
                                            U.S.D.J.

                    Plaintiff          :     Criminal No. 09-878

             V.
                                            PRELIMINARY ORDER OF
CLIFFORD J. MINOR                      :    FORFEITURE

                  Defendant.


      WHEREAS, on September 20, 2010, a Second Superseding Indictment

was filed charging Clifford J. Minor (hereinafter “defendant”), inter alia, with

knowingly and intentionally using a facility in interstate commerce, namely the

telephone, on July 5, 2007, in violation of Title 18, United States Code, Section

1952(a)(3) and Section 2; and

       WHEREAS, on April 5, 2011, the defendant pled guilty to all the counts

in the Second Superseding Indictment in which he was charged; and

      WHEREAS, pursuant to Title 18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2461, a person convicted

of an offense in violation of Title 18, United States Code, Section 1952(a)(3)

shall forfeit to the United States any property, real or personal, constituting or

derived from any proceeds traceable to the commission of that offense; and

      WHEREAS, by virtue of the above, the United States is now entitled to

possession of $8,500 in United States currency (hereinafter “the Property”)
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 because it represents proceeds traceable to the commission of the above-

 described offense;

       It is hereby ORDERED, ADJUDGED, AND DECREED:

       THAT the herein described Property, namely $8,500 in United States

 currency, is hereby forfeited to the United States of America pursuant
                                                                        to Title
 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

Section 2461; and

       THAT pursuant to Title 21, United States Code, Section 853(n)(1), the

United States shall publish notice of this Order and of its intent to dispos
                                                                                      e of
the property in such a manner as the Attorney General may direct, includ
                                                                                      ing
posting notice on the official internet government forfeiture site

    w.fo1feigegQ for at least 30 consecutive days; and

       THAT pursuant to Title 21, United States Code, Section 853(n)(2), any

person, other than the defendant, asserting a legal interest in the above-
                                                                           listed
forfeited property must file a petition with the Court within thirty (30)
                                                                          days           of
the final publication of notice or of receipt of actual notice, whichever
                                                                              is earlier,
and state that the petition shall be for a hearing to adjudicate the validit
                                                                            y of the
petitioner’s alleged interest in the property; and

      THAT pursuant to Title 21, United States Code, Section 853(n)(3), the

petition shall be signed by the petitioner under penalty of perjury, and
                                                                               shall set
forth the nature and extent of the petitioner’s right, title, or interes
                                                                           t in the
forfeited property, the time and circumstances of the petitioner’s acquis
                                                                          ition          of

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the right, title, or interest in the property, and any additional facts supporting

the petitioner’s claim and the relief sought; and

      THAT the United States may also, to the extent practicable, provide

direct written notice to any person known to have alleged an interest in the

property that is the subject of this Preliminary Order of Forfeiture, as a

substitute for published notice as to those persons so notified; and

      THAT the aforementioned forfeited property is to be held by the

appropriate United States agency in its secure custody and control until the

appropriate disposition of said Property by the United States; and

      THAT upon adjudication of all third-party interests, this Court will enter

a Final Order of Forfeiture pursuant to Title 21, United States Code, Section

853(n), in which all interests will be addressed.



                         ORDERED        this   2L      day of 1’J-      ,   2011.

                                                  /J
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                                         V                I


                                      HONORABLE DICKINSON R. DEBEVOISE
                                      United States District Judge




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